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7                                       UNITED STATES DISTRICT COURT

8                                  CENTRAL DISTRICT OF CALIFORNIA

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10   WILLIE WEAVER,                                )    Case No. 2:20-cv-5417-JVS(E)
                                                   )
11                         Plaintiff,              )
                                                   )
12                  v.                             )    ORDER DENYING REQUEST TO
                                                   )    PROCEED WITHOUT PREPAYMENT OF
13   SERGEANT GORY, et al.,                        )    FILING FEES AND CLOSING CASE
                                                   )
14                         Defendant.              )
                                                   )
15

16          On July 1, 2020, the Court denied plaintiff’s request to file this action without prepayment

17   of the filing fees. The Court ordered plaintiff to pay the filing fees in full within 30 days and advised

18   him that failure to do so would result in closure of the case. Plaintiff has failed to pay the fees or

19   otherwise respond. Accordingly, the Request to Proceed without Prepayment of Filing Fees is

20   denied and the case is closed.

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22          IT IS SO ORDERED.

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24   Dated: September 18, 2020
                                                                              James V. Selna
25                                                                       United States District Judge
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